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                   EXHIBIT 5




                   EXHIBIT 5
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 Attorneys for Plaintiff OL Private Counsel,
 LLC

                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE CENTRAL DISTRICT OF UTAH


  OL PRIVATE COUNSEL, LLC, a Utah
  limited liability company,                             PLAINTIFF OL PRIVATE
                                                            COUNSEL, LLC’S
                    Plaintiff,                          SUPPLEMENTAL INITIAL
            v.                                               DISCLOSURES
                                                      Case No. 2:21-cv-00455-DDB-DAO
  EPHRAIM OLSON, an individual,
                                                      The Honorable David Barlow
                    Defendant.
                                                      Magistrate Judge Daphne A. Oberg


        Plaintiff OL Private Counsel, LLC (“OLPC”) hereby submits its Supplemental Initial

 Disclosures pursuant to Rule 26 of the Federal Rules of Civil Procedure. These disclosures do not

 constitute a waiver of any attorney-client privilege, attorney work-product doctrine, or objection

 to discovery that OLPC may be entitled to assert.




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                                INTRODUCTORY STATEMENT

         The following disclosures are made based on the information reasonably available to

 OLPC as of the date of service. By making these disclosures, OLPC does not represent that it is

 identifying every document, tangible thing, or witness possibly relevant to this lawsuit. Nor does

 OLPC waive its right to object to production of any document or tangible thing disclosed herein

 on the basis of any privilege, the work-product doctrine, relevancy, undue burden, or any other

 valid objection or to object to the introduction into evidence of any such document or tangible

 thing. Rather, OLPC’s disclosures represent a good faith effort to identify information that it

 reasonably believes is relevant to the factual disputes alleged in the pleadings, as required by Rule

 26(a)(1) of the Federal Rules of Civil Procedure.

         Finally, OLPC’s disclosures are made without in any way waiving: (1) the right to object

 on the grounds of competency, privilege, relevance and materiality, hearsay, or any other proper

 ground, to the use of any such information, for any purpose, in whole or in part, in any subsequent

 proceeding in this action or any other action; and (2) the right to object on any and all grounds,

 at any time, to any other discovery request or proceeding involving or relating to the subject

 matter of these disclosures.

        All of the disclosures set forth below are made subject to the above conditions and

 qualifications.




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    A. The name and, if known, the address and telephone number of each individual likely
       to have discoverable information—along with the subjects of that information—that
       the disclosing party may use to support its claims or defenses, unless the use would be
       solely for impeachment.

         OLPC believes the following individuals and/or groups of individuals may have

 discoverable information supporting its claims and defenses, unless solely for impeachment:

                 1.      Thomas Olson.

         Thomas Olson should be contacted only through Plaintiff’s counsel. Thomas Olson has

 information regarding Plaintiff’s claims and Defendant’s counterclaims set forth in the pleadings

 on file with the Court, including Defendant’s employment at OLPC.

         Supplement: Thomas Olson’s address is Skyvillas Condominium, 7 South Sathorn Road,

 Room 2108, Bangkok, Thailand 10120.

                 2.      Hyrum Olson.

         Hyrum Olson should be contacted only through Plaintiff’s counsel. Hyrum Olson has

 information regarding Plaintiff’s claims and Defendant’s counterclaims set forth in the

 pleadings on file with the Court.

         Supplement: Hyrum Olson’s address is SE ¼ of Sec. 22-33-21, Pine River Manitoba

 R0L 1M0.

                 3.      Ephraim Olson.

        Ephraim Olson has information regarding Plaintiff’s claims and Defendant’s counterclaims

 set forth in the pleadings on file with the Court.


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                 4.      Carolyn Olson.

        Carolyn Olson has information regarding Plaintiff’s claims and Defendant’s counterclaims

 set forth in the pleadings on file with the Court.

                 5.      Timothy Akarapanich.

         Timothy Akarapanich has information regarding Plaintiff’s claims and Defendant’s

 counterclaims set forth in the pleadings on file with the Court.

         Supplement: Timothy Akarapanich’s last known email address is:

         timothy.akarapanich@gmail.com.

    B. A copy—or a description by category and location—of all documents, electronically
       stored information, and tangible things that the disclosing party has in its possession,
       custody, or control and may use to support its claims or defenses, unless the use
       would be solely for impeachment.

         A copy of all documents OLPC has thus far located that it may offer in its case-in-chief

 were served on Defendant on April 14, 2021. In addition, OLPC may use documents that are

 produced by any party or third party in this matter. OLPC reserves the right to supplement its

 Initial Disclosures as additional information becomes available.

    C. A computation of each category of damages claimed by the disclosing party—who
       must also make available for inspection and copying as under Rule 34 the documents
       or other evidentiary material, unless privileged or protected from disclosure, on
       which each computation is based, including materials bearing on the nature and
       extent of injuries suffered.

        OLPC seeks money damages in an amount to be determined at trial, including all

 reasonable and foreseeable damages that could have been avoided if Defendant Ephraim Olson

 had not engaged in the wrongdoing described in the complaint. OLPC’s damages consist of harm



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 to its goodwill, loss of clients, and loss of its confidential information. OLPC also seeks punitive

 damages for Defendant’s conversion, intentional interference with contractual relations, breach of

 fiduciary duty, and aiding and abetting conversion. OLPC reserves its right to assert and/or seek

 damages from Defendant or non-parties as the facts of the case develop and the case proceeds.

    D. For inspection and copying under Rule 34, any insurance agreement under which an
       insurance business may be liable to satisfy all or part of a possible judgment in the
       action or to indemnify or reimburse for payments made to satisfy the judgment.

        OLPC is unaware of any insurance agreements implicated by its claims.

        DATED: September 22, 2022


                                               FOLEY & LARDNER LLP


                                               /s/ Ellen E. Ostrow
                                               David J. Jordan
                                               Monica S. Call
                                               Ellen E. Ostrow

                                               Attorneys for Plaintiff OL Private Counsel,
                                               LLC




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                              CERTIFICATE OF SERVICE

     I hereby certify that on September 22, 2022 a true and correct copy of the foregoing

 PLAINTIFF      OL    PRIVATE      COUNSEL,      LLC’S    SUPPLEMENTAL          INITIAL

 DISCLOSURES was via email to the following counsel of record:


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                                                    /s/ Maren Graham




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